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  4
    Attorneys for Plaintiffs Hasmik Jasmine Chinaryan,
  5 Individually and as Guardian as Litem for NEC, a Minor,
    and Mariana Manukyan,
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  9
                               UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
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 12
      HASMIK JASMINE CHINARYAN,                     Case No. 2:19-cv-09302 MCS (Ex)
 13   Individually and as Guardian as Litem
      for NEC, a Minor, and MARIANA                 JOINT STATUS REPORT RE
 14   MANUKYAN,                                     SETTLEMENT
 15                 Plaintiffs,                     Before Judge Mark C. Scarsi
 16                       v.
                                                    Pretrial Conference:
 17   CITY OF LOS ANGELES,
                                                    Date: August 9, 2021
 18                 Defendant.                      Time: 2:00 p.m.
 19                                                 Trial:
 20                                                 Date: August 23, 2021
                                                    Time: 8:30 a.m.
 21
 22         The parties conducted a mediation on May 20, 2021, with Richard Copeland,
 23 Esq. The case did not settle. Counsel for the parties discussed settlement at the Rule 16
 24 conference. Settlement is not likely.
 25 Dated: July 13, 2021                      THE LAW OFFICES OF JOHN BURTON
 26
 27                                           By:         /s/ John Burton
                                                      John Burton
 28                                                    Attorneys for Plaintiffs
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  1 Dated: July __, 2021       MICHAEL N. FEUER, City Attorney
                               KATHLEEN A. KENEALY, Chief Asst City Attorney
  2                            SCOTT MARCUS, Chief, Civil Litigation Branch
                               CORY M. BRENTE, Senior Assistant City Attorney
  3                            TY A. FORD, Deputy City Attorney
  4
  5                                          By:          /s/Ty A. Ford
                                                           Ty A. Ford
  6                                                 Attorneys for Defendants
  7
  8
  9        John Burton attests that the other signatory listed, and on whose behalf the filing
 10 is submitted, concurs in the filing’s content and has authorized its filing.
 11 Dated: July ___, 2021              THE LAW OFFICES OF JOHN BURTON
 12
 13
 14                                   By:          /s/ John Burton
                                                      John Burton
 15                                                Attorneys for Plaintiffs
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